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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

 IN RE:                                                               CASE NO.: 18-60154-pmb
                                                                                CHAPTER 13
 Pamala Denise Heller,

    Debtor.

 _________________________________/

              NOTICE OF APPEARANCE AND REQUEST FOR SERVICE
       PLEASE TAKE NOTICE THAT the undersigned counsel hereby appears on behalf of
NEWREZ LLC D/B/A SHELLPOINT MORTGAGE SERVICING                             ("Secured Creditor").
Pursuant to Rule 2002 of the Federal Rules of Bankruptcy Procedure, the undersigned requests
all notices given or required to be given and all papers required to be served in this case to
creditors, any creditors committees, and any other parties-in-interest, be sent to and served upon
the undersigned counsel and the following be added to the Court's Master Mailing List:
                                  Andrea Betts, ESQ.
                                  RAS CRANE, LLC
                       10700 ABBOTT'S BRIDGE ROAD, SUITE 170
                                 DULUTH, GA 30097

                                             RAS CRANE, LLC
                                             Attorney for Secured Creditor
                                             10700 Abbott's Bridge Road, Suite 170
                                             Duluth, GA 30097
                                             Telephone: 470-321-7112
                                             Facsimile: 404-393-1425

                                             By: _\S\Andrea Betts_
                                               Andrea Betts, Esquire
                                               Georgia Bar No. 432863
                                               Communication Email: abetts@rascrane.com
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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on June 17, 2019, I electronically filed the foregoing with
the Clerk of Court by using the CM/ECF system, and a true and correct copy has been served via
CM/ECF or United States Mail to the following:

HOWARD P. SLOMKA
SLIPAKOFF & SLOMKA, PC
OVERLOOK III - SUITE 1700
2859 PACES FERRY RD, SE
ATLANTA, GA 30339

PAMALA DENISE HELLER
1064 SLY FOX RUN
FAIRBURN, GA 30213

MELISSA J. DAVEY
STANDING CH 13 TRUSTEE
260 PEACHTREE STREET, NW
SUITE 200
ATLANTA, GA 30303



                                           RAS CRANE, LLC
                                           Attorney for Secured Creditor
                                           10700 Abbott's Bridge Road, Suite 170
                                           Duluth, GA 30097
                                           Telephone: 470-321-7112
                                           Facsimile: 404-393-1425

                                           By: _\S\Andrea Betts_
                                             Andrea Betts, Esquire
                                             Georgia Bar No. 432863
                                             Communication Email: abetts@rascrane.com
